  4:21-cr-03139-JMG-CRZ Doc # 70 Filed: 05/24/22 Page 1 of 1 - Page ID # 174




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:21CR3139
     vs.

GEORGE LESLEY WEAVER JR., and                            ORDER
ANNA IDIGIMA,

                 Defendants.


     After conferring with counsel,

     IT IS ORDERED:

     1)    Defendants oral motion to continue the status conference is granted.

     2)    A status conference will be held before the undersigned magistrate
           judge at 10:00 a.m. on August 23, 2022 by telephone. All
           participants shall use the conferencing information provided by the
           court, (see Filing No. 18), to participate in the call to discuss case
           progression and a potential trial setting. Counsel for the parties
           shall be present at the conference.

     3)   The court finds that the time between today’s date and August 23,
          2022 is excluded in any computation of time under the Speedy
          Trial Act because this case remains “unusual and complex,” and is
          exempted from the time restrictions of that Act, 18 U.S.C.
          3161(h)(7)(B)(ii). Failing to timely object to this order as provided
          under this court’s local rules will be deemed a waiver of any right to
          later claim the time should not have been excluded under the Speedy
          Trial Act.
     Dated this 24th day of May, 2022.

                                          BY THE COURT:
                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge
